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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                           for the

                                                Northern District of Georgia
   Melanie Hogan Sluder and Ricky Shawn Curtis,              )
Individually and as lndependant Administrators of the        )
       Estate of Alexis Marie Sluder, Deceased,
                                                             )
                                                             )
                            Plaintiff(s)                     )
                                v.                           )       Civil Action No. 4:24-cv-00181-WMR
                                                             )
  Rebecka Phillips, Maveis Brooks, Russell Ballard,
   David McKinney, Monica Headrick, Sharon Ellis,            )
       Gilmer County (a municipal corporation),              )
                                                             )
                                                             )
                           Defendant(s)                      )

                                                SUMMONS IN A CIVIL ACTION

To.. (Defendants, name and address) Maveis Brooks
                                    108 Yarbrough Street
                                    Calhoun, GA 30701




          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                  Sam Harton
                                  Romanucci & Blandin
                                  321 N. Clark Street
                                  Suite 900
                                  Chicago, IL 60654
                                  sharton@rblaw.net
                                  (312) 458-1000
         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.
                                                                          Kevin P Weimer

                                                                        CLERK OF COURT

                                                                          s/D. Burkhalter
Date:             10/1/2024
                                                                                  Signature of Clerk or Deputy Clerk
